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UN|TED STATES DlSTRlCT COURT
FOR THE WESTERN DISTRICT 0F TENNESSEE
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LARRY STEVE MELTON, LARRY S.
MELTON, and R & J OF TENNESSEE, INC.,

Plaintiffs,
vs.

BANK OF LEXINGTON branch of the BANK
OF FRIENDSHIP, TERESA HARRIS, B & H
INVESTMENTS, INC., BENNIE FESMIRE,
DIANE TUCKER, HAROLD WALDEN
BLANKENSHIP, BEAN BLANKENSHIP.,
FRANKIE STANFILL, KEV]N CARTER,

The law firm of MILAM, CARTER & STANFILL,
REGINA MILLER, T()DD HENDERSON,
WILLIAM WILHITE, DAVID RIDDICK,

The law firm of HOLMES, RICH, SIGLER &
RIDDICK, DON WEBSTER, JIMMY
BARBOUR, WALDON GWINN, JAMES
PUTNAM, TIM PILKINGTON, JAMES E.
SM]TH, M.V. WILLIAMS, .]R., INVESTMENT
MANAGEMENT FlNANCE, lNC., and JOHN
DOES I, II, III and IV,

‘-"‘_/\¢r‘-/‘-_r\_/\_r\-r\_dv~_/\_¢\_r~_'W\_r\.¢\-/V\ud\u-/\_/v\_r'~_/

Defendants.

No: 1-02-1152 B
JURY DEMANDED

THO!\';ASn M.GOLED
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W{DGr ' ‘MSEMFHS

 

ORDER GRANTING PLAINTIFF LARRY S. MELTON ENLARGEMENT

OF TIME

 

lt appearing to the Court that a proper Motion for En]argement ofTime has been ti led by the

Plaintift`, Larry S. Melton, pro se, and for good cause Shown the motion is granted; therefore,

lT IS ACCORDINGLY ORDERED that the Plaintit`f, Larry S. Melton, is granted until

Friday, Ju]y 08, 2005 to respond to the FDIC’s Memorandum on Fed. R. Civ. P. 45 and Opposition

to Plaintl`ff"s Motion to Compel dated May 27, 2005._
IT IS SO ORDERED this g day of July, 2005__

 

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CERT|FICATE OF SERVICE

On the 30th day of .|une 2005, l hereby certify that a copy of the foregoing Plaintit`i`L.-arqf
S. Melton’s proposed Order Granting Enlargement of Time has been Sent via U.S. Mail, postage

prepaid, to the following

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Notice of Distribution

This notice confirms a copy of the document docketed as number 612 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

 

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